 Case 8:21-cv-01771-TPB-SPF Document 1 Filed 07/22/21 Page 1 of 3 PageID 1




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 BRYTON ENNIS,

              Plaintiff,
       v.                                         CASE NO.:

RESURGENT CAPITAL SERVICES,
L.P.,

           Defendant.
 __________________________________/

                             NOTICE OF REMOVAL

      PLEASE TAKE NOTICE THAT on this date, Defendant Resurgent Capital

Services, L.P., by and through its undersigned counsel, hereby removes the above-

captioned matter to the United States District Court for the Middle District of

Florida, Tampa Division, from the County Court of the Sixth Judicial Circuit in and

for Pinellas County, Florida and in support thereof avers as follows:

      1.     Defendant Resurgent Capital Services, L.P. is a defendant in a civil

action originally filed on or about June 16, 2021, in the County Court of the Sixth

Judicial Circuit, in and for Pinellas County, Florida, titled Bryton Ennis v. Resurgent

Capital Services, L.P., and docketed to Case No. 21-004610-CO.

      2.     This removal is timely under 28 U.S.C. § 1446(b) as Defendant

received service of process on July 2, 2021.
 Case 8:21-cv-01771-TPB-SPF Document 1 Filed 07/22/21 Page 2 of 3 PageID 2




      3.     Pursuant to 28 U.S.C. § 1446, attached hereto are copies of all process,

pleadings and orders received by Defendant in the state court action.

      4.     The United States District Court for the Middle District of Florida,

Tampa Division, has original jurisdiction over this action pursuant to 28 U.S.C. §

1331, in that Plaintiff has filed claims against Defendant alleging violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

      5.     On this date, Defendant provided notice of this Removal to counsel for

Plaintiff and to the County Court of the Sixth Judicial Circuit in and for Pinellas

County, Florida.

      WHEREFORE, Defendant respectfully removes this case to the United States

District Court for the Middle District of Florida.

                                 MESSER STRICKLER, LTD.

                          By:    /s/ John M. Marees, II
                                 LAUREN M. BURNETTE, ESQUIRE
                                 FL Bar No. 0120079
                                 JOHN M. MAREES II, ESQUIRE
                                 FL Bar No. 069879
                                 12276 San Jose Blvd.
                                 Suite 718
                                 Jacksonville, FL 32223
                                 (904) 527-1172
                                 (904) 683-7353 (fax)
                                 lburnette@messerstrickler.com
                                 jmarees@messerstrickler.com
                                 Counsel for Defendant

Dated: July 22, 2021

                                          2
 Case 8:21-cv-01771-TPB-SPF Document 1 Filed 07/22/21 Page 3 of 3 PageID 3




                        CERTIFICATE OF SERVICE

      I certify that on July 22, 2021, a true copy of the foregoing document was

served as follows:

Via U.S. Mail Postage Prepaid:
Jibrael S. Hindi, Esq.
Thomas J. Patti, Esq.
Law Offices of Jibrael S. Hindi, PLLC
110 SE 6th Street, Suite 1744
Fort Lauderdale, FL 33301
jibrael@jibraellaw.com
tom@jibraellaw.com
Counsel for Plaintiff



                               MESSER STRICKLER, LTD.


                         By:   /s/ John M. Marees, II
                               LAUREN M. BURNETTE, ESQUIRE
                               FL Bar No. 0120079
                               JOHN M. MAREES II, ESQUIRE
                               FL Bar No. 069879
                               12276 San Jose Blvd.
                               Suite 718
                               Jacksonville, FL 32223
                               (904) 527-1172
                               (904) 683-7353 (fax)
                               lburnette@messerstrickler.com
                               jmarees@messerstrickler.com
                               Counsel for Defendant

Dated: July 22, 2021




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